Case 3:16-md-02738-MAS-RLS   Document 33111-16   Filed 08/22/24   Page 1 of 3
                             PageID: 230206




               EXHIBIT 15
Case 3:16-md-02738-MAS-RLS    Document 33111-16   Filed 08/22/24   Page 2 of 3
                              PageID: 230207
                        Jack Siemiatycki, Ph.D.

                                                                          Page 1
                             UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

          -----------------------------x
          IN RE JOHNSON & JOHNSON        ) MDL No.
          TALCUM POWDER PRODUCTS         ) 16-2738 (FLW)(LHG)
          MARKETING SALES PRACTICES,     )
          AND PRODUCTS LIABILITY         )
          LITIGATION                     )
                                         )
          THIS DOCUMENT RELATES TO       )
          ALL CASES                      )
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                             VIDEOTAPED DEPOSITION OF

                             JACK SIEMIATYCKI, Ph.D.

                                MONTREAL, CANADA

                         THURSDAY, JANUARY 31, 2019

                                    9:49 A.M.




          Reported by: Leslie A. Todd


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Case 3:16-md-02738-MAS-RLS   Document 33111-16   Filed 08/22/24   Page 3 of 3
                             PageID: 230208
                        Jack Siemiatycki, Ph.D.

                                                                      Page 173
     1    two things with my two ears.
     2                 MS. PARFITT:       Sorry.
     3                 THE WITNESS:       Can you repeat the last
     4    part?
     5    BY MS. BRANSCOME:
     6            Q    Yeah.     You would agree that all of the
     7    factors that might make someone susceptible to
     8    developing ovarian cancer are not currently known.
     9            A    That's correct.
   10                  So are -- are you -- are you getting at
   11     the potential impact of confounding as -- from
   12     unknown factors as something that hasn't been
   13     properly evaluated or that is part of this
   14     picture?
   15             Q    I am simply asking you --
   16             A    Yes.
   17             Q    -- questions about your opinions.
   18             A    Yes, yeah.
   19             Q    But you agree that the possibility of an
   20     unknown confounding variable is something that, as
   21     an epidemiologist, you would at least consider
   22     when looking at the strength of association
   23     established by epidemiological studies, correct?
   24             A    I would consider it, and I've considered
   25     it in the context of this literature, and in my



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